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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                   January 17, 2024
                                                                                   Nathan Ochsner, Clerk




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

IN RE:                                         §
                                               §
Javier Garcia                                  §    Case No. 24-30008-JPN-13
                                               §
Debtor                                         §    Chapter 13
                                               §

  ORDER GRANTING EXTENSION OF TIME TO FILE CHAPTER 13 SCHEDULES,
           STATEMENT OF AFFAIRS, AND CHAPTER 13 PLAN
                          (ECF No. 10)

         CAME BEFORE THE COURT Debtor's Motion, and the Court finds that good cause exists

to grant the Motion. It is, therefore,

      ORDERED that the Debtor herein shall have until 1/29/2024, to file his Chapter 13

Schedules, Statement of Affairs, and Chapter 13 Plan.



             January  17,2018
               April 04,  2024           ###END OF ORDER###




By: /s/Christopher M Lee
